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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                       )
In re:                                                                 )     Chapter 11
                                                                       )
YELLOW CORPORATION, et al.,1                                           )     Case No. 23-11069 (CTG)
                                                                       )
                            Debtors.                                   )     (Jointly Administered)
                                                                       )

         NOTICE OF FILING OF ASSET PURCHASE AGREEMENT DATED AS OF
                  JANUARY 5, 2024 BETWEEN THE DEBTORS AND
                        GREENWOOD MOTOR LINES, INC.

       PLEASE TAKE NOTICE that, on September 15, 2023 the Court entered that certain
Order (I)(A) Approving Bidding Procedures for the Sale or Sales of the Debtors’ Assets;
(B) Scheduling Auctions and Approving the Form and Manner of Notice Thereof; (C) Approving
Assumption and Assignment Procedures (D) Scheduling Sale Hearings and Approving the Form
and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear
of Liens, Claims, Interests, and Encumbrances and (B) Approving the Assumption and
Assignment of Executory Contracts and Unexpired Leases; and (III) Granting Related Relief
[Docket No. 575] (the “Bidding Procedures Order).2

       PLEASE TAKE FURTHER NOTICE that, on December 18, 2023 and
December 19, 2023, the Debtors commenced the Real Estate Auction for Remaining Leased
Properties, as set forth in the Notice of Winning Bidders with Respect to Certain of the Debtors’
Leased Properties [Docket No. 1403] (the “Notice of Winning Bidders”) filed on
December 20, 2023, and completed bidding for those certain Won Leased Properties, including
those Won Leased Properties which are the subject of the Asset Purchase Agreement (defined
below).

        PLEASE TAKE FURTHER NOTICE that, on December 29, 2023, the Debtors filed
the proposed Order (I) Approving Certain Asset Purchase Agreements; (II) Authorizing and
Approving Sales of Certain Leased Properties of the Debtors Free and Clear of Liens, Claims,
Interests, and Encumbrances, in Each Case Pursuant to the Applicable Asset Purchase
Agreement; (III) Approving the Assumption and Assignment of Certain Executory Contracts and
Unexpired Leases in Connection Therewith, in Each Case as Applicable Pursuant to the
Applicable Asset Purchase Agreement; and (IV) Granting Related Relief [Docket No. 1540]
seeking authorization to enter into the Asset Purchase Agreement for the Won Leased Properties.


1   A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’ claims and
    noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place of business and
    the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland Park, Kansas 66211.
2   Capitalized terms used in this notice but not defined herein shall have the meanings ascribed to them in the Bidding
    Procedures Order and Notice of Winning Bidders, as applicable.
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        PLEASE TAKE FURTHER NOTICE that, on January 4, 2024, the Debtors filed
that certain Notice of Filing of Form of Asset Purchase Agreement Between the Debtors
and Greenwood Motor Lines, Inc. [Docket No. 1610].

        PLEASE TAKE FURTHER NOTICE that attached at Exhibit A is a true and
correct copy of that certain executed Asset Purchase Agreement Dated as of January, 5, 2024
Between Debtors and Purchaser (the “Asset Purchase Agreement”) for the sale to
Greenwood Motor Lines, Inc. of the Real Property Assets set forth herein, into which
the Debtors seek the Court’s approval to enter under the proposed Sale Order.




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Dated: January 5, 2024
Wilmington, Delaware

/s/ Laura Davis Jones
Laura Davis Jones (DE Bar No. 2436)      Patrick J. Nash Jr., P.C. (admitted pro hac vice)
Timothy P. Cairns (DE Bar No. 4228)      David Seligman, P.C. (admitted pro hac vice)
Peter J. Keane (DE Bar No. 5503)         Whitney Fogelberg (admitted pro hac vice)
Edward Corma (DE Bar No. 6718)           KIRKLAND & ELLIS LLP
PACHULSKI STANG ZIEHL & JONES LLP        KIRKLAND & ELLIS INTERNATIONAL LLP
919 North Market Street, 17th Floor      300 North LaSalle
P.O. Box 8705                            Chicago, Illinois 60654
Wilmington, Delaware 19801               Telephone:       (312) 862-2000
Telephone:      (302) 652-4100           Facsimile:       (312) 862-2200
Facsimile:      (302) 652-4400           Email:           patrick.nash@kirkland.com
Email:          ljones@pszjlaw.com                        david.seligman@kirkland.com
                tcairns@pszjlaw.com                       whitney.fogelberg@kirkland.com
                pkeane@pszjlaw.com
                ecorma@pszjlaw.com       -and-

                                         Allyson B. Smith (admitted pro hac vice)
                                         KIRKLAND & ELLIS LLP
                                         KIRKLAND & ELLIS INTERNATIONAL LLP
                                         601 Lexington Avenue
                                         New York, New York 10022
                                         Telephone:     (212) 446-4800
                                         Facsimile:     (212) 446-4900
                                         Email:         allyson.smith@kirkland.com

                                         Co-Counsel for the Debtors and Debtors in
                                         Possession
